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IN THE UNITED sTATEs DISTRICT coURT Fm&’BY pa
FOR THE wEsTERN DISTRICT OF TENNESSEE '
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MILTON sTEwART, 1 »HMMWM

Plaintiff,
vs. No. 05-2302-Ml/V
KTG (USA} LP,

Defendant.

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ORDER GRANTING LEAVE TO PROCEED §§ FORMA PAUPERIS
ORDER CORRECTING THE DOCKET
ORDER OF PARTIAL DISMISSAL
AND
ORDER TO ISSUE AND EFFECT SERVICE OF PROCESS

 

Plaintiff Milton Stewart filed a pro §§ complaint
pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
2000e §§ §§gé, on April 26, 2005, along with an application seeking
leave to proceed in fg;ma pauperis. Based on the information set
forth in the Plaintiff’s affidavit, the motion to proceed in forma
pauperis is GRANTED. The Clerk shall record the Defendant as KTG

(USA) LP.l

 

1 The Complaint names as the sole Defendant Mike Cline, who is not

mentioned in the text of the Complaint but who is identified in the case caption
as site manager of KTG (USA) LP. There is no personal liability under the
employment discrimination statutes against a co-worker or supervisor who does not
otherwise qualify as an “employer." Wathen v. General Electric Co., 115 F.3d 400,
405 (6th Cir. 1997). However, because p£g §§ complaints are to be liberally
construed, Haines v. Kerner, 404 U.S. 519 (1972), and because the Plaintiff named
KTG (USA) LP as the Respondent in his charge filed with the Equal Employment

(continued...)

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The Court is required to screen ip forma pauperis

 

complaints and to dismiss any complaint, or any portion thereof, if

the action -
(i) is frivolous or malicious;

(ii) fails to state a claim on Which relief may be
granted; or

(iii) seeks monetary relief against a defendant who
is immune from such relief.

28 U.S.C. § 1915(e)(2). One aspect of Plaintiff's Complaint is
subject to dismissal.

“In order for federal courts to have subject matter
jurisdiction of [employment discrimination] claims, the claimant
must first unsuccessfully pursue administrative relief.” Ang v.
Proctor & Gamble Co., 932 F.2d 540, 545 (6th Cir. 1991). Moreover,
the plaintiff’s complaint must be “limited to the scope of the EEOC
investigation reasonably expected to grow out of the charge of
discrimination.” EEOC v. Bailey, 563 F.Zd 439, 446 (6th Cir. 1977)
(internal citations omitted). In dealing with ppg §§ litigants,
courts have tended to be more lenient in their assessment of What
is contained in the charge and its relationship to the content of
the complaint. As the Sixth Circuit explained:

One reason for the expanded rule is that charges are

frequently filed by lay complainants, and the courts
recognize that subsequent actions should not be

 

1 (. . .continued)
Opportunity Commission (“EEOC"), the Court construes the Complaint as brought
against K'I‘G (USA} LP. The Complaint is DISMISSED for failure to state a claim,
pursuant to 28 U.S.C. § 1915(e) (2) (B) (ii), with respect to Cline.

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restricted by the failure of a complainant to attach the
correct legal conclusion to the EEOC claim, conform to
procedural technicalities, or include “the exact wording
which might be required in a judicial pleading.”

Davis v. Sodexho, Cumberland Colleqe Cafeteria, 157 F.3d 460, 463

(6th Cir. 1998) (citation omitted); see also Ang, 932 F.2d at 546

 

(declining to broadly construe a Title VII charge because the
plaintiff “was assisted by counsel throughout the administrative
investigation. Liberal construction ies not necessalgr where the
claimant is aided by counsel in preparing his charge.”). Thus,
“where facts related with respect to the charged claim would prompt
the EEOC to investigate a different, uncharged claim, the plaintiff

is not precluded from bringing suit on that claim. Davis, 157 F.3d

 

at 463.

In this case, the Complaint alleges claims of race
discrimination and retaliation. The EEOC charge, which is attached
to the Complaint, indicates that the Plaintiff only exhausted a
race discrimination. clain1 in connection with his termination.
Nothing on the face of the charge indicates that the EEOC was on
notice that the Plaintiff also contends he was terminated. in
retaliation for protected activity. Accordingly, the Court
DISMISSES the Complaint, to the extent it purports to assert a
retaliation claim, pursuant to 28 U.S.C. §§ 1915(e)(2)(B)(ii), for
failure to state a claim on which relief may be granted.

It is ORDERED that the Clerk shall issue process for the

Defendant and deliver said process to the marshal for service. A

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copy of this order shall be served on the Defendant along with the
summons and complaint. Service shall be made on the Defendant
pursuant to Fed. R. Civ. P. 4(h)(1). All costs of service shall be
advanced by the United States.

It is further ORDERED that the Plaintiff shall serve a
copy of every further document filed in this cause on the attorney
for the Defendant, or on the Defendant if it has no attorney. The
Plaintiff shall make a certificate of service on every document
filed. The Plaintiff shall familiarize himself with the Federal
Rules of Civil Procedure and this Court's Local Rules.

The Plaintiff shall promptly notify the Clerk of any
change of address or whereabouts. Failure to comply with these
requirements, or any other order of the Court, may result in this

case being dismissed without further notice.

IT IS SO ORDERED this 163 day of July, 2005.

to mud

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02302 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

Milton SteWart
1 157 Breedlove
i\/lemphis7 TN 38107

Honorable Jon McCalla
US DISTRICT COURT

